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A Limited Liability Partnership |
Including Professional Corporations
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Attorneys for Defendants Allstate
Insurance Company
UNITED STATE DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
ALAN BAKER, Case No. 2:19-cv-08024-ODW-JC
LINDA B. OLIVER,
DECLARATION OF PETER H.
Plaintiffs, KLEE RE ALLSTATE’S COSTS IN
CONNECTION WITH
Vv. ALLSTATE’S EX PARTE
APPLICATION

ALLSTATE INSURANCE
COMPANY, EDWARD CARRASCO, | Hon. Otis D. Wright II

and DOES 1 through 10, inclusive, _ oe
. SO “Dept: . First Street Courthouse,
Defendants. Courtroom 5D

Complaint Filed: August 16, 2018
Trial Date: Not yet set.

 

 

I, Peter H. Klee, declare as follows: a .
1, I am an attorney with Sheppard, Mullin, Richter & Hampton LLP,
attorneys for Allstate Insurance Company in this lawsuit. I have personal

knowledge of the following facts.

2. I am the billing partner for this case. I am submitting this declaration in
response to the Court’s request at the December 16, 2019 Order to Show Cause —
hearing to set forth the amount of fees and costs that Allstate has incurred in

-j- Case No. 2:19-cv-08024-ODW-JC
SMRH:4837-9300-7023.1 DECL OF PETER H. KLEE ISO COSTS RE EX PARTE APPLICATION

 

 
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connection with the ex parte application precipitated by the threatening emails sent
by Plaintiffs’ former attorney, Christopher Hook.

3, In my initial declaration in support of Allstate’s ex parte application, I
stated that my partner Marc Feldman and I had spent in excess of 13 hours, at a cost
to Allstate of over $6,370, in preparing Allstate’s initial ex parte papers. These
amounts were conservative numbers. They included time spent only by
Mr. Feldman and me, and only in directly preparing the initial application. The
amounts did not include any time by our associate, Jack Burns, in researching and
assisting in preparing the application. They did not include time by anyone in
reading, evaluating, and responding to the dozens of inappropriate emails sent by
Mr. Hook after November 20, 2019, through the filing of Allstate’s ex parte
application. Nor did the amounts include any time spent after the initial ex parte
papers were filed.

4, As of the date of this Declaration, from the time Mr. Hook began
sending the emails leading to the application, Marc Feldman, J ack Burns, and I have
spent at least 90.5 hours at a cost to Allstate of at least $42,581 in connection with
Allstate’s ex parte application. Specifically, I spent at least 16.8 hours at a rate of
$490 per hour, Mr. Feldman spent at least 48.5 hours at a rate of $490 per hour, and
Mr. Burns spent at least 25.2 hours at a rate of $420 per hour. These amounts
include all of the three attorneys’ time spent reviewing and evaluating Mr. Hook’s
numerous emails, researching and preparing the initial ex parte application and
supporting documents, reviewing and evaluating Mr. Hook’s opposition,
researching and preparing Allstate’s reply papers, traveling to and attending the
hearing (Mr. Klee and Mr. Feldman only), and preparing the Order requested by the
Court.

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SMRH:4837-9300-7023.1 DECL OF PETER H. KLEE ISO COSTS RE EX PARTE APPLICATION

 
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I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct and that this declaration is executed in San Diego,

California on December /&, 2019.

_ PETER H..KLEE, ESQ.

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3. Case No. 2:19-cv-08024-ODW-JC
SMRH.4837-9300-7023.1 DECL OF PETER H. KLEE ISO COSTS RE EX PARTE APPLICATION |

 

 

 
